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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

GLOBAL AVIATION HOLDINGS INC., et al.,1                    Case No. 13-12945 (MFW)

                        Debtors.                           (Jointly Administered)

                     REQUEST FOR REMOVAL FROM MAILING LIST

          Please remove Carl N. Kunz, III from receiving ECF notifications in the above

 referenced bankruptcy case.

 Dated: September 14, 2022                     MORRIS JAMES LLP


                                                /s/ Carl N. Kunz, III
                                                Carl N. Kunz, III (DE Bar No. 3201)
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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal
 taxpayer-identification number, include: Global Aviation Holdings Inc. (2196); Global Shared Services,
 Inc. (1692); New ATA Acquisition Inc. (1985); New ATA Investment Inc. (2109); North American
 Airlines, Inc. (8792); World Air Holdings, Inc. (1036); and World Airways, Inc. (8276). The Debtors'
 corporate address is 101 World Drive, Peachtree City, Georgia 30269.


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